                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,


                Plaintiff,                               No. 17-CR-10-LRR

 vs.                                          REPORT AND RECOMMENDATION
                                               CONCERNING PLEA OF GUILTY
 MAGALI MARROQUIN,


                 Defendant.
                                ____________________

         On June 22, 2017, the above-named defendant, Magali Marroquin, by consent
(Doc. 44), appeared before the undersigned United States Magistrate Judge pursuant to
Federal Rule of Criminal Procedure 11, and entered pleas of guilty to Counts 11 and 12
of the Indictment. (Doc. 4). After cautioning and examining the defendant under oath
concerning each of the subjects mentioned in Rule 11, the court determined that the guilty
pleas were knowledgeable and voluntary, and the offenses charged were supported by an
independent basis in fact containing each of the essential elements of the offenses. The
court therefore RECOMMENDS that the pleas of guilty be accepted and the defendant
be adjudged guilty.
         At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if she answered any questions falsely, she could be prosecuted for
perjury or for making a false statement.       She also was advised that in any such
prosecution, the Government could use against her any statements she made under oath.




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       The court asked a number of questions to ensure the defendant’s mental capacity
to enter a plea. The defendant stated her full name, her age, and the extent of her
schooling. The court inquired into the defendant’s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.
From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair her ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The defendant acknowledged that she had received a copy of the Indictment, and
she had fully discussed these charges with her attorney.
       The court determined that the defendant was pleading guilty under a plea
agreement with the Government.       After confirming that a copy of the written plea
agreement was in front of the defendant and her attorney, the court determined that the
defendant understood the terms of the plea agreement. The court summarized the plea
agreement, and made certain the defendant understood its terms.
       The court explained to the defendant that because the plea agreement provided for
dismissal of charges if she pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the defendant would have an opportunity
to withdraw her pleas of guilty and change them to not guilty.
       The defendant was advised also that after her pleas were accepted, she would have
no right to withdraw the pleas at a later date, even if the sentence imposed was different
from what the defendant or her counsel anticipated.



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      The court summarized the charges against the defendant, and listed the elements
of the crimes. The court determined that the defendant understood each and every
element of the crimes, and the defendant’s counsel confirmed that the defendant
understood each and every element of the crimes charged.
      The court elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Indictment to which the defendant was pleading guilty.
      The court advised the defendant of the consequences of her pleas, including, for
each Count, the maximum fine, the maximum term of imprisonment, and the mandatory
minimum term of imprisonment, and the possibility that restitution could be ordered and
term of supervised release. Because these charges involve fraud or other intentionally
deceptive practices, the defendant was advised that the court also could order her to
provide notice of the conviction to victims of the offense.
      With respect to Count 11, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is 15 years; and the maximum period of
supervised release is 3 years.
      With respect to Count 12, the defendant was advised that the maximum fine is
$250,000; the mandatory term of imprisonment is 2 years, to be served consecutive to
any other sentence; and the maximum period of supervised release is 1 year.
      The defendant was advised that, in the aggregate, the maximum fine is $500,000;
the maximum term of imprisonment is 17 years; the mandatory term of imprisonment is
2 years; and the maximum period of supervised release is 4 years.
      The defendant also was advised that the court is obligated to impose a special
assessment of $100.00 on each Count, for a total of $200, which the defendant must pay.



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The defendant also was advised of the collateral consequences of a plea of guilty. The
defendant acknowledged that she understood all of the above consequences.
       The Court advised defendant that, because defendant is not a United States citizen,
it is likely defendant will be deported from the United States after serving any prison
sentence imposed. The Court also advised defendant that this conviction may affect
defendant's ability to ever lawfully reenter the United States.
       The Court explained supervised release to the defendant, and advised her that a
term of supervised release would be imposed in addition to the sentence of imprisonment.
The defendant was advised that there are conditions of supervised release, and that if she
were found to have violated a condition of supervised release, then her term of supervised
release could be revoked and she could be required to serve in prison all or part of the
term of supervised release without credit for time previously served on supervised
release.
       The court also explained to the defendant that the district judge would determine
the appropriate sentence for her at the sentencing hearing. The defendant confirmed that
she understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that she understood the sentence imposed might
be different from what her attorney had estimated. The defendant also was advised that
both she and the Government would have the right to appeal the sentence. The defendant
was advised that parole has been abolished.
       The defendant indicated she had conferred fully with her counsel and she was fully
satisfied with her counsel. The defendant’s attorney indicated that there is a factual basis
for the guilty pleas.

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       The defendant was advised fully of her right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have her case tried by a jury selected from a cross-section of
              the community;
       4.     That she would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine these
              witnesses;
       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if she could not afford to pay the fees and costs of
              bringing these witnesses to court, then the Government would be required
              to pay those fees and costs;
       8.     That the defendant would have the privilege against self-incrimination; i.e.,
              she could choose to testify at trial, but she need not do so, and if she chose
              not to testify, then the court would instruct the jury that the defendant had
              a constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;
       10.    That she would have the right to appeal, and if she could not afford an
              attorney for the appeal, then the Government would pay the costs of an
              attorney to prepare the appeal.
       The defendant also was advised of the rights she would waive by entering a plea
of guilty. The defendant was told there would be no trial, she would waive all the trial

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rights just described, and she would be adjudged guilty without any further proceedings
except for sentencing.
          The defendant confirmed that her decision to plead guilty was voluntary and was
not the result of any promises other than plea agreement promises; and her decision to
plead guilty was not the result of any threats, force, or anyone pressuring her to plead
guilty.
          The defendant confirmed that she still wished to plead guilty, and she pleaded
guilty to Counts 11 and 12 of the Indictment.
          The court finds the following with respect to the defendant’s guilty plea:
          1.    The guilty plea is voluntary, knowing, not the result of force, threats or
                promises, except plea agreement promises, and the defendant is fully
                competent.
          2.    The defendant is aware of the maximum punishment.
          3.    The defendant knows her jury rights.
          4.    The defendant has voluntarily waived her jury rights.
          5.    There is a factual basis for the plea.
          6.    The defendant is, in fact, guilty of the crimes to which she is pleading
                guilty.
          The defendant was advised that a written presentence investigation report would
be prepared to assist the court in sentencing. The defendant was told that she and her
counsel would have an opportunity to read the presentence report before the sentencing
hearing and to object to the contents of the report, and she and her counsel would be
afforded the opportunity to present evidence and be heard at the sentencing hearing.




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       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(1), the court made a
finding that the Government has established the requisite nexus between defendant's
offense and the property described in the Indictment’s forfeiture allegation.
       The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar her from
attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s plea of guilty. Defendant was advised
that she may waive any right to file written objections to this Report and Recommendation
by filing a written waiver form.           The “Waiver of Objections to Report and
Recommendation” form is available on the Court’s web page.
       United States v. Cortez-Hernandez, 2016 WL 7174114 (8th Cir. 2016) (per
curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within fourteen (14) days after this order is filed.
       DONE AND ENTERED at Cedar Rapids, Iowa, this 23rd day of June, 2017.




                                           __________________________________
                                           C.J. Williams
                                           Chief United States Magistrate Judge
                                           Northern District of Iowa




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